                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

  ERIE INSURANCE COMPANY, as                          :
  subrogee of Anthony Liakonis and Lori               :
  Liakonis,                                           :
                                                      :
              Plaintiff,                              :
                                                      :
  v.                                                  :
                                                      :   Case No. 3:20-cv-00319-DCLC-DCP
  ELECTROLUX HOME PRODUCTS, INC.,                     :
  ELECTROLUX NORTH AMERICA, INC.,                     :
  GD MIDEA AIR CONDITIONING                           :
  EQUIPMENT, LTD., MIDEA GROUP CO.,                   :
  LTD., MIDEA AMERICA CORPORATION,                    :
  and MIDEA INTERNATIONAL TRADING                     :
  CO., LTD.                                           :
                                                      :
              Defendants.

                       DEFENDANT ELECTROLUX HOME PRODUCTS, INC.’S
                            ANSWER TO PLAINTIFF’S COMPLAINT

              Defendant Electrolux Home Products, Inc., by and through its undersigned counsel,

  hereby answers plaintiff’s Complaint as follows:

                                             THE PARTIES

              1.     Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              2.     Admitted.

              3.     Admitted, except that the address of Electrolux North America, Inc.’s registered

  agent in Ohio is 4400 Easton Commons Way, Suite 12, Columbus, OH 43219.




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              4.    Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              5.    Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              6.    Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              7.    Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              8.    Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

                                             JURISDICTION

              9.    Denied as conclusions of law.

              10.   Denied as conclusions of law.

              11.   Denied as conclusions of law.

              12.   (a)-(f). Denied as conclusions of law.

              13.   Denied as conclusions of law.




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                                                 VENUE

              14.   Electrolux Home Products, Inc. denies, as a conclusion of law, the allegation that

  “Venue is proper in this Court.” To the extent this paragraph of the Complaint contains

  allegations of fact, after reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of said allegations.

                                        BACKGROUND FACTS

              15.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              16.   Denied.

              17.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              18.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              19.   Denied.

              20.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              21.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.


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              22.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              23.   Denied as stated.

              24.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              25.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              26.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              27.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              28.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              29.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.




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              30.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              31.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              32.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              33.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              34.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              35.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              36.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.




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              37.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              38.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              39.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              40.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              41.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              42.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              43.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.




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              44.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              45.   Denied.

              46.   Denied.

              47.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              48.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              49.   Admitted.

              50.   Denied as stated.

              51.   Admitted.

              52.   Admitted.

              53.   Denied.

              54.   Denied as stated.

              55.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

  knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

  this paragraph of the Complaint.

              56.   Denied as conclusions of law.

              57.   This paragraph of the Complaint requires no response, but to an extent a response

  is required, denied.


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  COUNT I AGAINST ELECTROLUX HOME PRODUCTS, INC.: NEGLIGENT DESIGN
                         AND MANUFACTURE

              58.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-57 of its

  Answer as if fully set forth again at length herein.

              59.   This paragraph of the Complaint requires no response, but to an extent a response

  is required, denied.

              60.   This paragraph of the Complaint requires no response, but to an extent a response

  is required, denied.

              61.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

  manufactured, maintained, assembled, inspected, installed, or tested the subject product and

  states that, after reasonable investigation, it is without knowledge or information sufficient to

  form a belief as to the truth of the remaining allegations set forth in this paragraph of the

  Complaint.

              62.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

  engaged in the business of packaging, labeling, and distributing Frigidaire dehumidifiers, but

  denies the remaining allegations set forth in this paragraph of the Complaint.

              63.   Denied.

              64.   Denied.

              65.   Denied.

              66.   Denied.

              67.   Denied.

              68.   Denied.

              69.   (a)-(g). Denied.

              70.   Denied.

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              71.   Denied.

              72.   This paragraph of the Complaint requires no response, but to an extent a response

  is required, denied.

              73.   Denied.

              WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

  party for any sum and demands judgment in its favor and against plaintiff, together with costs

  and all other relief the Court may deem appropriate.

        COUNT II AGAINST ELECTROLUX HOME PRODUCTS, INC.: NEGLIGENT
                             FAILURE TO WARN

              74.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-73 of its

  Answer as if fully set forth again at length herein.

              75.   This paragraph of the Complaint requires no response, but to an extent a response

  is required, denied.

              76.   This paragraph of the Complaint requires no response, but to an extent a response

  is required, denied.

              77.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

  manufactured, maintained, assembled, inspected, installed, or tested the subject product and

  states that, after reasonable investigation, it is without knowledge or information sufficient to

  form a belief as to the truth of the remaining allegations set forth in this paragraph of the

  Complaint.

              78.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

  engaged in the business of packaging, labeling, and distributing Frigidaire dehumidifiers, but

  denies the remaining allegations set forth in this paragraph of the Complaint.

              79.   Denied.

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               80.   Denied.

               81.   Denied.

               82.   Denied.

               83.   Denied.

               84.   Denied.

               85.   Denied.

               86.   (a)-(g). Denied.

               87.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               88.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

   COUNT III AGAINST ELECTROLUX HOME PRODUCTS, INC.: STRICT LIABILITY

               89.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-88 of its

   Answer as if fully set forth again at length herein.

               90.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               91.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               92.   Denied. Electrolux Home Products, Inc. specifically denies that it designed or

   manufactured the subject product and states that, after reasonable investigation, it is without




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   knowledge or information sufficient to form a belief as to the truth of the remaining allegations

   set forth in this paragraph of the Complaint.

               93.    Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               94.    Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               95.    Admitted.

               96.    Admitted.

               97.    Denied.

               98.    Denied.

               99.    Denied.

               100.   Denied.

               101.   Denied.

               102.   Denied.

               103.   Denied.

               104.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               105.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.


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        COUNT IV AGAINST ELECTROLUX HOME PRODUCTS, INC.: BREACH OF
                            EXPRESS WARRANTY

               106.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-105 of its

   Answer as if fully set forth again at length herein.

               107.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               108.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               109.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint.

               110.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               111.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               112.   Denied.

               113.   Denied.

               114.   Denied.

               115.   Denied.

               116.   Denied.

               117.   Denied.



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               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

         COUNT V AGAINST ELECTROLUX HOME PRODUCTS, INC.: BREACH OF
                             IMPLIED WARRANTY

               118.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-117 of its

   Answer as if fully set forth again at length herein.

               119.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               120.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               121.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint.

               122.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               123.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               124.   Denied.

               125.   Denied.

               126.   Denied.

               127.   Denied.

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               128.   Denied.

               129.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

        COUNT VI AGAINST ELECTROLUX NORTH AMERICA, INC.: NEGLIGENT
                          DESIGN AND MANUFACTURE

               130.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-129 of its

   Answer as if fully set forth again at length herein.

               131.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               132.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               133.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint.

               134.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

   engaged in the business of packaging, labeling, selling, and distributing Frigidaire dehumidifiers,

   but denies each and every other allegation set forth in this paragraph of the Complaint, including

   to the extent the allegations in this paragraph are directed to other defendants.

               135.   Denied.

               136.   Denied.

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               137.   Denied.

               138.   Denied.

               139.   Denied.

               140.   Denied.

               141.   (a)-(g). Denied.

               142.   Denied.

               143.   Denied.

               144.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               145.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

        COUNT VII AGAINST ELECTROLUX NORTH AMERICA, INC.: NEGLIGENT
                              FAILURE TO WARN

               146.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-145 of its

   Answer as if fully set forth again at length herein.

               147.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               148.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               149.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

                                                     15

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   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint.

               150.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

   engaged in the business of packaging, labeling, selling, and distributing Frigidaire dehumidifiers,

   but denies each and every other allegation set forth in this paragraph of the Complaint, including

   to the extent the allegations in this paragraph are directed to other defendants.

               151.   Denied.

               152.   Denied.

               153.   Denied.

               154.   Denied.

               155.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., denied. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               156.   Denied.

               157.   Denied.

               158.   (a)-(g). Denied.

               159.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               160.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.


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           COUNT VIII AGAINST ELECTROLUX NORTH AMERICA, INC.: STRICT
                                   LIABILITY

               161.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-160 of its

   Answer as if fully set forth again at length herein.

               162.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               163.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               164.   Denied. Electrolux Home Products, Inc. specifically denies that it designed or

   manufactured the subject product and states that, after reasonable investigation, it is without

   knowledge or information sufficient to form a belief as to the truth of the remaining allegations

   set forth in this paragraph of the Complaint, including to the extent the allegations in this

   paragraph of the Complaint are directed to other defendants.

               165.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               166.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               167.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.



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               168.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               169.   Denied.

               170.   Denied.

               171.   Denied.

               172.   Denied.

               173.   Denied.

               174.   Denied.

               175.   Denied.

               176.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               177.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

         COUNT IX AGAINST ELECTROLUX NORTH AMERICA, INC.: BREACH OF
                             EXPRESS WARRANTY

               178.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-177 of its

   Answer as if fully set forth again at length herein.

               179.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.



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Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 18 of 51 PageID #: 153
               180.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               181.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               182.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               183.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               184.   Denied.

               185.   Denied.

               186.   Denied.

               187.   Denied.

               188.   Denied.

               189.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.




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         COUNT X AGAINST ELECTROLUX NORTH AMERICA, INC.: BREACH OF
                             IMPLIED WARRANTY

               190.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-189 of its

   Answer as if fully set forth again at length herein.

               191.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               192.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               193.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               194.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               195.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               196.   Denied.

               197.   Denied.

               198.   Denied.

               199.   Denied.

               200.   Denied.

               201.   Denied.

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Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 20 of 51 PageID #: 155
               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

         COUNT XI AGAINST GD MIDEA AIR CONDITIONING EQUIPMENT, LTD:
                    NEGLIGENT DESIGN AND MANUFACTURE

               202.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-201 of its

   Answer as if fully set forth again at length herein.

               203.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               204.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               205.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint.

               206.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

   engaged in the business of packaging, labeling, selling, and distributing Frigidaire dehumidifiers,

   but denies each and every other allegation set forth in this paragraph of the Complaint, including

   to the extent the allegations in this paragraph are directed to other defendants.

               207.   Denied.

               208.   Denied.

               209.   Denied.

               210.   Denied.

                                                      21

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 21 of 51 PageID #: 156
               211.   Denied.

               212.   Denied.

               213.   (a)-(g). Denied.

               214.   Denied.

               215.   Denied.

               216.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               217.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

         COUNT XII AGAINST GD MIDEA AIR CONDITIONING EQUIPMENT, LTD:
                         NEGLIGENT FAILURE TO WARN

               218.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-217 of its

   Answer as if fully set forth again at length herein.

               219.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               220.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               221.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint.

                                                     22

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 22 of 51 PageID #: 157
               222.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

   engaged in the business of packaging, labeling, selling, and distributing Frigidaire dehumidifiers,

   but denies each and every other allegation set forth in this paragraph of the Complaint, including

   to the extent the allegations in this paragraph are directed to other defendants.

               223.   Denied.

               224.   Denied.

               225.   Denied.

               226.   Denied.

               227.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., denied. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               228.   Denied.

               229.   Denied.

               230.   (a)-(g). Denied.

               231.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               232.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.




                                                      23

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 23 of 51 PageID #: 158
        COUNT XIII AGAINST GD MIDEA AIR CONDITIONING EQUIPMENT, LTD:
                               STRICT LIABILITY

               233.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-232 of its

   Answer as if fully set forth again at length herein.

               234.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               235.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               236.   Denied. Electrolux Home Products, Inc. specifically denies that it designed or

   manufactured the subject product and states that, after reasonable investigation, it is without

   knowledge or information sufficient to form a belief as to the truth of the remaining allegations

   set forth in this paragraph of the Complaint, including to the extent the allegations in this

   paragraph of the Complaint are directed to other defendants.

               237.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               238.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               239.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.



                                                     24

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 24 of 51 PageID #: 159
               240.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               241.   Denied.

               242.   Denied.

               243.   Denied.

               244.   Denied.

               245.   Denied.

               246.   Denied.

               247.   Denied.

               248.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               249.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

        COUNT XIV AGAINST GD MIDEA AIR CONDITIONING EQUIPMENT, LTD:
                       BREACH OF EXPRESS WARRANTY

               250.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-249 of its

   Answer as if fully set forth again at length herein.

               251.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.



                                                     25

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 25 of 51 PageID #: 160
               252.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               253.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               254.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               255.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               256.   Denied.

               257.   Denied.

               258.   Denied.

               259.   Denied.

               260.   Denied.

               261.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.




                                                     26

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 26 of 51 PageID #: 161
         COUNT XV AGAINST GD MIDEA AIR CONDITIONING EQUIPMENT, LTD:
                       BREACH OF IMPLIED WARRANTY

               262.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-261 of its

   Answer as if fully set forth again at length herein.

               263.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               264.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               265.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               266.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               267.   Denied.

               268.   Denied.

               269.   Denied.

               270.   Denied.

               271.   Denied.

               272.   Denied.

               273.   Denied.



                                                     27

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 27 of 51 PageID #: 162
               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

       COUNT XVI AGAINST MIDEA GROUP CO., LTD.: NEGLIGENT DESIGN AND
                              MANUFACTURE

               274.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-273 of its

   Answer as if fully set forth again at length herein.

               275.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               276.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               277.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations set forth in this paragraph are directed to other

   defendants.

               278.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

   engaged in the business of packaging, labeling, selling, and distributing Frigidaire dehumidifiers,

   but denies each and every other allegation set forth in this paragraph of the Complaint, including

   to the extent the allegations in this paragraph are directed to other defendants.

               279.   Denied.

               280.   Denied.

               281.   Denied.

                                                      28

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 28 of 51 PageID #: 163
               282.   Denied.

               283.   Denied.

               284.   Denied.

               285.   (a)-(g). Denied.

               286.   Denied.

               287.   Denied.

               288.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               289.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

       COUNT XVII AGAINST MIDEA GROUP CO., LTD.: NEGLIGENT FAILURE TO
                                  WARN

               290.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-289 of its

   Answer as if fully set forth again at length herein.

               291.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               292.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               293.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

                                                     29

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 29 of 51 PageID #: 164
   Complaint, including to the extent the allegations set forth in this paragraph are directed to other

   defendants.

               294.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

   engaged in the business of packaging, labeling, selling, and distributing Frigidaire dehumidifiers,

   but denies each and every other allegation set forth in this paragraph of the Complaint, including

   to the extent the allegations in this paragraph are directed to other defendants.

               295.   Denied.

               296.   Denied.

               297.   Denied.

               298.   Denied.

               299.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., denied. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               300.   Denied.

               301.   Denied.

               302.   (a)-(g). Denied.

               303.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               304.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.


                                                      30

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 30 of 51 PageID #: 165
           COUNT XVIII AGAINST MIDEA GROUP CO., LTD.: STRICT LIABILITY

               305.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-304 of its

   Answer as if fully set forth again at length herein.

               306.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               307.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               308.   Denied. Electrolux Home Products, Inc. specifically denies that it designed or

   manufactured the subject product and states that, after reasonable investigation, it is without

   knowledge or information sufficient to form a belief as to the truth of the remaining allegations

   set forth in this paragraph of the Complaint, including to the extent the allegations in this

   paragraph of the Complaint are directed to other defendants.

               309.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               310.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               311.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.




                                                     31

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 31 of 51 PageID #: 166
               312.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               313.   Denied.

               314.   Denied.

               315.   Denied.

               316.   Denied.

               317.   Denied.

               318.   Denied.

               319.   Denied.

               320.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               321.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

      COUNT XIX AGAINST ELECTROLUX MIDEA GROUP CO., LTD.: BREACH OF
                           EXPRESS WARRANTY

               322.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-321 of its

   Answer as if fully set forth again at length herein.

               323.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.



                                                     32

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 32 of 51 PageID #: 167
               324.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               325.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               326.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               327.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               328.   Denied.

               329.   Denied.

               330.   Denied.

               331.   Denied.

               332.   Denied.

               333.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.




                                                     33

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 33 of 51 PageID #: 168
           COUNT XX AGAINST MIDEA GROUP CO., LTD.: BREACH OF IMPLIED
                                 WARRANTY

               334.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-333 of its

   Answer as if fully set forth again at length herein.

               335.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               336.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               337.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               338.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               339.   Denied.

               340.   Denied.

               341.   Denied.

               342.   Denied.

               343.   Denied.

               344.   Denied.

               345.   Denied.



                                                     34

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 34 of 51 PageID #: 169
               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

    COUNT XXI AGAINST MIDEA AMERICA CORPORATION: NEGLIGENT DESIGN
                          AND MANUFACTURE

               346.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-345 of its

   Answer as if fully set forth again at length herein.

               347.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               348.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               349.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations set forth in this paragraph are directed to other

   defendants.

               350.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

   engaged in the business of packaging, labeling, selling, and distributing Frigidaire dehumidifiers,

   but denies each and every other allegation set forth in this paragraph of the Complaint, including

   to the extent the allegations in this paragraph are directed to other defendants.

               351.   Denied.

               352.   Denied.

               353.   Denied.

                                                      35

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 35 of 51 PageID #: 170
               354.   Denied.

               355.   Denied.

               356.   Denied.

               357.   (a)-(g). Denied.

               358.   Denied.

               359.   Denied.

               360.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               361.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

   COUNT XXII AGAINST MIDEA AMERICA CORPORATION: NEGLIGENT FAILURE
                               TO WARN

               362.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-361 of its

   Answer as if fully set forth again at length herein.

               363.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               364.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               365.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., denied. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

                                                     36

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 36 of 51 PageID #: 171
               366.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., denied. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               367.   Denied.

               368.   Denied.

               369.   Denied.

               370.   Denied.

               371.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., denied. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               372.   Denied.

               373.   Denied.

               374.   (a)-(g). Denied.

               375.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               376.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.




                                                     37

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 37 of 51 PageID #: 172
    COUNT XXIII AGAINST MIDEA AMERICA CORPORATION: STRICT LIABILITY

               377.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-376 of its

   Answer as if fully set forth again at length herein.

               378.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               379.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               380.   Denied. Electrolux Home Products, Inc. specifically denies that it designed or

   manufactured the subject product and states that, after reasonable investigation, it is without

   knowledge or information sufficient to form a belief as to the truth of the remaining allegations

   set forth in this paragraph of the Complaint, including to the extent the allegations in this

   paragraph of the Complaint are directed to other defendants.

               381.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               382.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               383.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.




                                                     38

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 38 of 51 PageID #: 173
               384.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               385.   Denied.

               386.   Denied.

               387.   Denied.

               388.   Denied.

               389.   Denied.

               390.   Denied.

               391.   Denied.

               392.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               393.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

          COUNT XXIV AGAINST MIDEA AMERICA CORPORATION: BREACH OF
                             EXPRESS WARRANTY

               394.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-393 of its

   Answer as if fully set forth again at length herein.

               395.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.



                                                     39

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 39 of 51 PageID #: 174
               396.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               397.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               398.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               399.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               400.   Denied.

               401.   Denied.

               402.   Denied.

               403.   Denied.

               404.   Denied.

               405.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.




                                                     40

   4658246.1
Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 40 of 51 PageID #: 175
   COUNT XXV AGAINST MIDEA AMERICA CORPORATION: BREACH OF IMPLIED
                             WARRANTY

               406.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-405 of its

   Answer as if fully set forth again at length herein.

               407.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               408.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               409.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               410.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               411.   Denied.

               412.   Denied.

               413.   Denied.

               414.   Denied.

               415.   Denied.

               416.   Denied.

               417.   Denied.



                                                     41

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               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

           COUNT XXVI AGAINST MIDEA INTERNATIONAL TRADING CO., LTD.:
                      NEGLIGENT DESIGN AND MANUFACTURE

               418.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-417 of its

   Answer as if fully set forth again at length herein.

               419.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               420.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               421.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations set forth in this paragraph are directed to other

   defendants.

               422.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

   engaged in the business of packaging, labeling, selling, and distributing Frigidaire dehumidifiers,

   but denies each and every other allegation set forth in this paragraph of the Complaint, including

   to the extent the allegations in this paragraph are directed to other defendants.

               423.   Denied.

               424.   Denied.

               425.   Denied.

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               426.   Denied.

               427.   Denied.

               428.   Denied.

               429.   (a)-(g). Denied.

               430.   Denied.

               431.   Denied.

               432.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               433.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

          COUNT XXVII AGAINST MIDEA INTERNATIONAL TRADING CO., LTD.:
                         NEGLIGENT FAILURE TO WARN

               434.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-433 of its

   Answer as if fully set forth again at length herein.

               435.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               436.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               437.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

                                                     43

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Case 3:20-cv-00319-DCLC-DCP Document 7 Filed 10/13/20 Page 43 of 51 PageID #: 178
   Complaint, including to the extent the allegations set forth in this paragraph are directed to other

   defendants.

               438.   Admitted in part, denied in part. Electrolux Home Products, Inc. admits that it is

   engaged in the business of packaging, labeling, selling, and distributing Frigidaire dehumidifiers,

   but denies each and every other allegation set forth in this paragraph of the Complaint, including

   to the extent the allegations in this paragraph are directed to other defendants.

               439.   Denied.

               440.   Denied.

               441.   Denied.

               442.   Denied.

               443.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., denied. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               444.   Denied.

               445.   Denied.

               446.   (a)-(g). Denied.

               447.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               448.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.


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   COUNT XXVIII AGAINST MIDEA INTERNATIONAL TRADING CO., LTD.: STRICT
                               LIABILITY

               449.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-448 of its

   Answer as if fully set forth again at length herein.

               450.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               451.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               452.   Denied. Electrolux Home Products, Inc. specifically denies that it designed or

   manufactured the subject product and states that, after reasonable investigation, it is without

   knowledge or information sufficient to form a belief as to the truth of the remaining allegations

   set forth in this paragraph of the Complaint, including to the extent the allegations in this

   paragraph of the Complaint are directed to other defendants.

               453.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               454.   Denied. After reasonable investigation, Electrolux Home Products, Inc. is without

   knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

   this paragraph of the Complaint.

               455.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.



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               456.   To the extent this paragraph of the Complaint is directed to Electrolux Home

   Products, Inc., admitted. To the extent this paragraph of the Complaint is directed to other

   defendants, Electrolux Home Products, Inc. is without knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in this paragraph of the Complaint.

               457.   Denied.

               458.   Denied.

               459.   Denied.

               460.   Denied.

               461.   Denied.

               462.   Denied.

               463.   Denied.

               464.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               465.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

   COUNT XXIX AGAINST MIDEA INTERNATIONAL TRADING CO., LTD.: BREACH
                        OF EXPRESS WARRANTY

               466.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-465 of its

   Answer as if fully set forth again at length herein.

               467.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.



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               468.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               469.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               470.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               471.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               472.   Denied.

               473.   Denied.

               474.   Denied.

               475.   Denied.

               476.   Denied.

               477.   Denied.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.




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    COUNT XXX AGAINST MIDEA INTERNATIONAL TRADING CO., LTD.: BREACH
                         OF IMPLIED WARRANTY

               478.   Electrolux Home Products, Inc. hereby incorporates paragraphs 1-477 of its

   Answer as if fully set forth again at length herein.

               479.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               480.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               481.   Denied. Electrolux Home Products, Inc. specifically denies that it designed,

   manufactured, maintained, assembled, inspected, installed, or tested the subject product and

   states that, after reasonable investigation, it is without knowledge or information sufficient to

   form a belief as to the truth of the remaining allegations set forth in this paragraph of the

   Complaint, including to the extent the allegations in this paragraph of the Complaint are directed

   to other defendants.

               482.   This paragraph of the Complaint requires no response, but to an extent a response

   is required, denied.

               483.   Denied.

               484.   Denied.

               485.   Denied.

               486.   Denied.

               487.   Denied.

               488.   Denied.

               489.   Denied.



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               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.

                                                 DEFENSES

               1.    The Complaint fails to state a claim upon which relief can be granted.

               2.    The product in question may not have been in substantially the same condition at

   the time of use as at the time of design, manufacture and sale, thereby barring plaintiff’s

   recovery.

               3.    The incident occurred in part, or in whole, as the result of the negligence,

   carelessness, gross negligence or recklessness of plaintiff and/or its subrogees, barring or

   limiting plaintiff’s recovery. This Defendant specifically relies on Tenn. Code Ann. § 29-28-

   108.

               4.    The product in question was not defective at the time of sale and was

   accompanied by all appropriate warnings and instructions.

               5.    Adequate and complete warnings concerning the product in question were

   provided with the product and subsequently to all known to have purchased the product.

               6.    Plaintiff and/or its subrogees failed to mitigate its damages, if any.

               7.    Plaintiff’s damages, if any, were caused by the highly reckless conduct and/or

   superseding, intervening acts of persons or entities other than Electrolux Home Products, Inc.

   and over whom Electrolux Home Products, Inc. had neither control nor the right to control.

               8.    Plaintiff’s damages were caused solely by the acts or omissions of others over

   whom Electrolux Home Products, Inc. had no control.




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               9.    At the time the product in question left the control of the manufacturer, there was

   not a practical and technically feasible alternative design that would have prevented the

   plaintiff’s harm without substantially impairing the reasonably anticipated or intended function

   of the product.

               10.   The manufacture, design, inspection, warnings and labeling of the product in

   question were in conformity with the generally recognized state of the art at the time such

   product was manufactured and sold. This Defendant relies on Tenn. Code Ann. § 29-28-105(b).

               11.   Plaintiff’s action is barred or limited by the doctrine of avoidable consequences.

               12.   The product in question was not properly maintained and cleaned, barring or

   limiting plaintiff’s recovery.

               13.   Plaintiff’s breach of express and implied warranty claims are barred and/or

   limited by the express language of the applicable product warranty, if any.

               14.   Electrolux Home Products, Inc. relies upon all applicable provisions and defenses

   available to it under the Tennessee Products Liability Act, Tenn. Code Ann. § 29-28-101, et seq.

               15.   The product in question was manufactured and sold in compliance with all

   applicable governmental statutes and regulations, and this Defendant specifically relies upon

   Tenn. Code Ann. § 29-28-104.

               WHEREFORE, defendant Electrolux Home Products, Inc. denies that it is liable to any

   party for any sum and demands judgment in its favor and against plaintiff, together with costs

   and all other relief the Court may deem appropriate.




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               Respectfully submitted this 13th day of October, 2020.

                                                    WOOLF, McCLANE, BRIGHT,
                                                     ALLEN & CARPENTER, PLLC

                                                    By: s/W. Kyle Carpenter_________________
                                                        W. Kyle Carpenter (BPR #005332)
                                                    Post Office Box 900
                                                    Knoxville, Tennessee 37901-0900
                                                    (865) 215-1000

                                                    Attorney for Defendants Electrolux Home Products,
                                                    Inc., Electrolux North America, Inc. and Midea
                                                    America Corp.


                                        CERTIFICATE OF SERVICE

           I hereby certify that on October 13, 2020, a copy of the foregoing Answer was filed
   electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
   system to all parties indicated on the electronic filing receipt. All other parties will be served by
   regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.

                                                    s/W. Kyle Carpenter_______________________
                                                    WOOLF, McCLANE, BRIGHT,
                                                      ALLEN & CARPENTER, PLLC
                                                    Post Office Box 900
                                                    Knoxville, Tennessee 37901-0900
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